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8                                     UNITED STATES DISTRICT COURT
9                                EASTERN DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA,                        No. 2:21-CR-00193-TLN
12                       Plaintiff,
13           v.
14    CHRISTINE M. IWAMOTO,
15                       Defendant.
16

17    UNITED STATES OF AMERICA,                        No. 2:24-MC-00161-DAD-CSK
18                       Plaintiff,
19           v.
20    CHRISTINE M. IWAMOTO,                            RELATED CASE ORDER
21                       Defendant.
22

23          Plaintiff filed a Notice of Related Cases on May 31, 2024. Examination of the above-
24   captioned actions reveals they are related within the meaning of Local Rule 123 (E.D. Cal. 1997).
25   Pursuant to Rule 123 of the Local Rules of the United States District Court for the Eastern
26   District of California, two actions are related when they involve the same parties and are based on
27   the same or similar claim(s); when they involve the same transaction, property, or event; or when
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1    they “involve similar questions of fact and the same question of law and their assignment to the
2    same Judge . . . is likely to effect a substantial savings of judicial effort.” L.R. 123(a). Further,
3                   [i]f the Judge to whom the action with the lower or lowest number
                    has been assigned determines that assignment of the actions to a
4                   single Judge is likely to effect a savings of judicial effort or other
                    economies, that Judge is authorized to enter an order reassigning all
5                   higher numbered related actions to himself or herself.
6    L.R. 123(c).
7           Relating the cases under Local Rule 123, however, merely has the result that both actions
8    are assigned to the same judge, it does not consolidate the actions. Under the regular practice of
9    this Court, related cases are generally assigned to the judge and magistrate judge to whom the
10   first filed action was assigned.
11          IT IS THEREFORE ORDERED that the action denominated 2:24-MC-00161-DAD-CSK
12   is reassigned to District Judge Troy L. Nunley and Magistrate Chi Soo Kim, and the caption shall
13   read 2:24-MC-00161-TLN-CSK. IT IS FURTHER ORDERED that the Clerk of Court adjust the
14   assignment of the cases to compensate for this reassignment.
15          IT IS SO ORDERED.
16   Dated: June 6, 2024
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18                                                           Troy L. Nunley
                                                             United States District Judge
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